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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

Michael McKearney,

Plaillliff, : Civil Action No.:
v. :

FH Cann & Asscciates, Inc.,

Defendant.

 

COMPLAINT
For this Coinplaint, the Piaintiff, Michael McKearney, by undersigned counsel, states as

follows:

JURISDICTI()N

l. This action arises out of Defendant’s repeated violations of the Fair Debt
Collections Act, 15 U.S.C. § 1692, er seq. (“FDCPA”), and the invasions of Plaintiff"s personal
privacy by the Defendant and its agents in their illegal efforts to collect a consumer debt.

2. Venue is proper in this District pursuant to 28 U.S.C. § l39l(b), in that Defendant
transacts business here and a substantial portion of the acts giving rise to this action occurred
here.

PAR'I`IES

3. Plaintiff, Michael l\/IcKearney (hereafter “Plaintiff”), is an adult individual

residing at 1064 R Washington Street, Gloucester Massachusetts 01930, and is a “consuiner” as

the term is defined by 15 U.S.C. § 1692a(3).

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4. Defendant, FH Cann & Associates, Inc. (hereafter “Defendant”), is a domestic
corporation with a principal place of business at 1600 Osgood Street, Building 20/2-120, North
Andover, Massachasetts 01845, operating as a collection agency, and is a “debt collector” as the

term is defined by 15 U.S.C. § 1692a(6).

5. The names of the individual collectors are unknown but they will be added by

amendment When determined through discovery.

FACTUAL ALLEGATIONS

6. Plaintiff incurred a financial obligation that was primarily for family, personal or

household purposes, and which meets the definition of a “debt” under 15 U.S.C. § 1692a(5).

7. Thereafter, the debt was purchased, assigned or transferred to Defendant for

collection from Plaintiff.

8. The Defendant then began attempts to collect this debt front the Plaintiff, which

was a “communication” as defined in 15 U.S.C. § 1692a(2).
9. The Defendant was rude and abusive on the telephone

10. The Defendant debt collectors, while on the telephone with the Plaintiff,
continually made loud remarks to their co-workers referring to the Plaintiff as “stupid” and the

likelihood that he would lose “insurance” if he did not pay immediately

ll. The Defendant threatened to put a “lien” on the Plaintiff’s driver’s license and

claimed he would be unable to renew his drivei"s license once it expired

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12. The Plaintiff has suffered actual damages as a result of these illegal collection
communications in the form of humiliation, anger, anxiety, emotional distress, fear, frustration,
embarrassment, amongst other negative emotions, as well as suffering from unjustified and

abusive invasions of personal privacy at the Plaintiff" s liome.

COUN'I` I

VIOLATI()NS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692, et seq.

13. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

14. The Defendant used profane and abusive language when speaking with the

consumer, in violation of 15 U.S.C. § l692d(2).

15. The Defendant caused a phone to ring repeatedly and engaged the Plaintift` in

telephone conversations, with the intent to annoy and harass, in violation of 15 U.S.C. §

16926(5).

16. 'l`he Defendant employed false and deceptive means to collect a debt, in violation

er 15 U‘.s.c. § 1692@(10).

17. The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions
18. The Plaintiff is entitled to damages as a result of Defendant’s violations

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VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
M.G.L. c. 93A § 2, et seq.

l9. Plaintiff incorporates by reference all of` the above paragraphs of this Complaint

as though fully stated herein.

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20. The Defendant employed unfair or deceptive acts to collect the debt, in violation

of M.G.L. c. 93A § 2.

21. Defendant’s failure to comply with these provisions constitutes an unfair or
deceptive act under M.G.L. c. 93A § 11 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.

COUNT III
INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

22. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

23. The Resfafement of Tor!s, Second, § 652(b) defines intrusion upon seclusion as,
“One who intentionally intrudes. . .upon the solitude or seclusion of another, or his private affairs
or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

24. Massachusetts further recognizes the Plaintif`f’ s right to be free from invasions of

privacy, thus Defendant violated Massaehusetts state law.

25. Defendant intentionally intruded upon Plaintiff"s right to privacy by continually
harassing Plaintiff with frequent telephone calls, abusing the Plaintiff` with condescending and

obscene language, and threatening legal action.

26. The telephone calls made by Defendant to Plaintif`f were so persistent and
repeated with such frequency as to be considered “hounding the plaintiff” and “a substantial
burden to his existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

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27. The conduct of the Defendant in engaging in the illegal collection activities
resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

28. As a result of the intrusions and invasions, Plaintiff is entitled to actual damages

in an amount to be determined at trial from Defendant

29. All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that judgment be entered against Defendant

l, Actual damages pursuant to 15 U.S.C. § 1692k(a)(l) against Defendant;

2. Statutory damages of $l ,000.00 for each violation pursuant to 15 U.S.C.
§1692k(a)(2)(A) against Defendant;

3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692k(a)(3) against Defendant;

4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.
c. 93A § 3(A);

5. Actual damages from Defendant for the all damages including emotional
distress suffered as a result of the intentional, reckless, and/or negligent
FDCPA violations and intentional, reckless, and/or negligent invasions of
privacy in an amount to be determined at trial for Plaintiff;

6. Punitive damage; and

7. Such other and further relief as may bejust and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

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Dated: March l 1, 2009

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Street, 3rd Floor
06905

 

